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IN THE UNITED STATES DISTRICT COURT
for the
WESTERN DISTRICT OF MJCHIGAN

RANDI FISHER, as Personal

Representative for the Estate of MADISON

FISHER, Deceased, RANDI FISHER and
JASON FISHER, Individually,

Plaintiffs,

V.

UNITED STATED OF AMERICA, THERESA

LAMBERT, R.N., SUSAN LINDAUER,

R.N., DANIELLE FORWARD, R.N., GWEN

BAKER, R.N., LEE SALMONSEN, RNC,
DEBORAH LARSON, R.N., CAROL
WOHLSCHIED, R.N., BATTLE CREEK

I'[EALTH SYSTEM and TRINITY HEALTH

CORPORATION, Jointly and Severally,

Defendants.

 

 

NOVEMBER 22, 2011

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) Case No. l:11-cv-00242-PLM
) Hon. Paul L. Maloney

)

) M_SH.E_RNE
) _I_)_QUCETTE REGARDING
) SHOW CAU§§ORDER OF
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333 W. Fort St., Suite 1600
Detroit, MI 4822 6

 

AFFIDAVIT OF SHERRIE DOUCETTE REGARDING SHOW CAUSE ORDER

 

oF NoVEMBER 22, 2011
sTATE 0F MICHIGAN )
§§ )
CoUNTY oF WAYNE )

l, SHERRIE DOUCETTE, by this affidavit, attest to the following:

1. I am employed in as a legal assistant to Phillip Toutant and one other
attorney at the law firm of McKeen & Associates, P.C., and 1 am responsible for all of his
scheduling.

2. On November 22, 2011 around 2:00 PM, I received a call from the Court,
inquiring as to where Plaintiffs’ counsel was, and that there was a settlement conference
taking place.

3. This call from the court was the first that I had heard of the Court's
settlement conference

4. Further investigation revealed that when the e-flling system was set up for
Mr. Toutant for the United States District Court for the Westem District of Michigan, it
had not been added to the e-i`lling notification list.

5. Subsequently, on Friday, December 2, 2011, I spoke with Mary from the

ECF help desk at the United States District Court for the Western District of Michigan.

 

 

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6. Mary informed me that l should have been receiving notifications on the
above-captioned matter, and Was unsure as to why l had not received e-f`lling
notifications.

7. Upon information and belief, l have now been added to the e-t`l]ing list for
the above-captioned matter.

8. Further, affiant sayeth not.

;®MM

Sherrie I. Doucette

Subscribed and sworn to before me

this fe day otc |,; )9.£_, ,2011
Notary z u§hc, County
My Commission Expire : 9~ \QO\ LF

Delia Maclas
Notary F‘ub|ic State of: Michigan
My Comrnission Expires: January 24, 2016
Acting in the County of: Wayne

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